
19 So.3d 466 (2009)
Dwayne LEDFORD
v.
NEW ORLEANS SAINTS.
No. 2009-C-1492.
Supreme Court of Louisiana.
October 16, 2009.
Writ granted in part and denied in part. Relator sought relief from adverse rulings below on his workers' compensation claim. Upon review, we find merit only in Relator's contention that he was erroneously denied reimbursement for expenses related to the removal of screws from his finger as necessary treatment of his work related injury. La. R.S. 23:1203. The case is remanded to the office of workers' compensation for a determination of the amount due and reconsideration of Relator's claim for penalties and attorney fees in view of this ruling. In all other respects, the writ application is denied.
